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                          UNITED STATES DISTRICT COURT
14                       CENTRAL DISTRICT OF CALIFORNIA
15                              EASTERN DIVISION
16
     JEFFREY MONTOYA                          )
17            Plaintiff,                      ) Case No.: 5:21-cv-00524-KK
18                                            )
           vs.                                ) [PROPOSED] JUDGMENT
19                                            )
20   KILOLO KIJAKAZI,                         )
     Acting Commissioner of Social            )
21
     Security,1                               )
22
                Defendant.                    )
23
                                              )
                                              )
24
25
     1
26
      Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9,
     2021. Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo
27   Kijakazi should be substituted, therefore, for Andrew Saul as the defendant in this
28   suit. No further action need be taken to continue this suit by reason of the last
     sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).


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 1         The Court having approved the parties’ stipulation to remand this case
 2   pursuant to Sentence 4 of 42 U.S.C. § 405(g) for further proceedings consistent
 3   with that stipulation and for entry of judgment for Plaintiff, judgment is hereby
 4   entered for Plaintiff.
 5
 6
     DATED: November 10, 2021
 7                                   HONORABLE
                                      ONORABLE
                                          R    E JJUDG
                                                   UDGE KENL
                                                        KENLY KIYA KATO
                                     UNITED STATES MAGISTRATE JUDGE
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